Case 4:20-cv-00190-CRS-HBB           Document 106-1        Filed 03/31/23     Page 1 of 18 PageID
                                           #: 936



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT OWENSBORO
                            CIVIL ACTION NO. 4:20-CV-00190-JHM

                                   ELECTRONICALLY FILED

 GARY KEIM                                                                             PLAINTIFF

 v.                  MEMORANDUM IN SUPPORT OF DEFENDANTS
                        MOTION FOR SUMMARY JUDGMENT

 KEVIN MAZZA, ET AL.                                                               DEFENDANTS


        Come the Defendants, Kevin Mazza and Bobbi Jo Butts, by counsel, and submit the

 following Memorandum in Support of Summary Judgment.

                                   STATEMENT OF FACTS

        Plaintiff alleges that while he was incarcerated at Green River Correctional Complex

 (“GRCC”), the Defendants were deliberately indifferent to his medical needs when they housed

 him on a top bunk knowing he has knee problems and refused to provide him a wheelchair when

 he claimed his medical issues prevented him from walking to the chow hall for meals. Plaintiff

 also alleges the Defendants intentionally moved him to a dorm farther from the chow hall, tried to

 move him into a cell with an inmate who had recently tested positive for Covid-19, and placed him

 on an upper floor and an upper bunk as retaliation for asking his family to inform the media about

 GRCC’s poor response to a covid outbreak.

                            SUMMARY JUDGMENT STANDARD

        Federal Rule of Procedure 56(a) establishes that summary judgment is proper "if the

 movant shows that there is no genuine dispute as to any material fact and the movant is entitled to

 judgment as a matter of law." There is no genuine issue of material fact when “looking to the

 record as a whole, a reasonable mind could come to only one conclusion. . . .” Mickler v.
Case 4:20-cv-00190-CRS-HBB           Document 106-1         Filed 03/31/23     Page 2 of 18 PageID
                                           #: 937



 Nimishillen & Tuscarawas Ry. Co., 13 F.3d 184, 186 (6th Cir. 1993) (citing Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242 (1986)). The moving party bears the initial burden of "informing the

 District Court of the basis of its motion" and identifying the matter it believes demonstrate[s] the

 absence of a genuine issue of material fact." Celotex Corp. v. Catrett, 477 U.S. 317, 323, (1986).

 The moving party is not required to support its motion with evidence, but need only demonstrate

 the absence of evidence to support the nonmoving party’s claim. Turner v. City of Taylor, 412

 F.3d 629, 638 (6th Cir. 2005)(citing Celotex Corp., 477 U.S. at 325).

        Where the non-moving party bears the burden of proof at trial, “a complete failure of proof

 concerning an essential element of the nonmoving party’s case necessarily renders all other facts

 immaterial.” Celotex at 323. The non-moving party has to "do more than simply show that there

 is some metaphysical doubt as to the material facts." Matsushita v. Zenith Ratio Corp., 475 U.S.

 574, 586 (1986). It is not sufficient for the non-moving party to rest on its pleadings. Rather, the

 non-moving party must present facts proving that a genuine factual issue exists by “citing to

 particular parts of the materials in the record” or by “showing that the materials cited do not

 establish the absence…of a genuine dispute…” Fed. R. Civ. P. 56(c)(1). “The mere existence of

 a scintilla of evidence in support of the [non-moving party’s] position will be insufficient; there

 must be evidence on which the jury could reasonably find for the [non-moving party].” Anderson,

 477 U.S. at 252. The moving party, therefore, is “entitled to judgment as a matter of law because

 the nonmoving party has failed to make a sufficient showing on an essential element of [his] case

 with respect to which [he] has the burden of proof.” Zain v. Advance Health Care Provider,

 4:12CV-P5-M, 2013 WL 5219054 (W.D.Ky. Sept. 16, 2013) (internal quotation marks omitted).




                                            Page 2 of 18
Case 4:20-cv-00190-CRS-HBB           Document 106-1         Filed 03/31/23      Page 3 of 18 PageID
                                           #: 938



                                           ARGUMENT

 Deliberate Indifference

        In order for a prisoner to prevail on an Eighth Amendment claim, he must show that he

 faced a sufficiently serious risk to his health or safety and that the defendant official acted with

 “‘deliberate indifference’ to [his] health or safety.” Mingus v. Butler, 591 F.3d 474, 479-80 (6th

 Cir. 2010) (citing Farmer v. Brennan, 511 U.S. 825, 834 (1994) (applying deliberate indifference

 standard to medical claims)); see also Helling v. McKinney, 509 U.S. 25, 35 (1993) (applying

 deliberate indifference standard to conditions of confinement claims)).

        The deliberate indifference standard includes both objective and subjective components.

 Farmer, 511 U.S. at 834; Helling, 509 U.S. at 35–37. The objective component requires the

 plaintiff to demonstrate that he has been subjected to specific deprivations that are so serious that

 they deny him “the minimal civilized measure of life's necessities.” Rhodes Chapman, 452 U.S.

 337, 347 (1981); see also Hudson v. McMillian, 503 U.S. 1, 8–9 (1992). The subjective component

 requires the plaintiff to demonstrate that the prison officials acted wantonly, with deliberate

 indifference to the plaintiff's serious needs. Farmer, 511 U.S. at 834.

    A. Placement on top bunk

        The Plaintiff alleges the Defendants were deliberately indifferent to his medical needs

 when they housed him on a top bunk knowing he has knee problems and other medical issues.

 (DN 1, PageID#: 4). The Plaintiff further alleges that his placement on a top bunk caused him to

 re-injure his ACL. (Id.)

        1.   Plaintiff has failed to establish Defendant Mazza’s personal involvement.

        To succeed under § 1983, a plaintiff must show personal involvement by the defendant in

 the constitutional violation. Copeland v. Machulis, 57 F.3d 476, 481 (6th Cir.1995) (per curiam).

 A respondeat superior theory of liability, based on the right to control employees, is not cognizable
                                             Page 3 of 18
Case 4:20-cv-00190-CRS-HBB                Document 106-1           Filed 03/31/23         Page 4 of 18 PageID
                                                #: 939



 under 42 U.S.C. § 1983. See Turner v. City of Taylor, 412 F.3d 629, 649 (6th Cir.2005); Hays v.

 Jefferson County, Ky., 668 F.2d 869, 874 (6th Cir.1982). “Thus, a supervisory official's failure to

 supervise, control or train the offending individual is not actionable unless the supervisor either

 encouraged the specific incident of misconduct or in some other way directly participated in it. At

 a minimum a plaintiff must show that the official at least implicitly authorized, approved, or

 knowingly acquiesced in the unconstitutional conduct of the offending officers.” Shehee v.

 Luttrell, 199 F.3d 295, 300 (6th Cir.1999) (citations omitted). Moreover, the Sixth Circuit held in

 Shehee that a denial of an administrative grievance and the failure to remedy the alleged

 constitutional violation did not constitute sufficient involvement to establish liability under 42

 U.S.C. § 1983. Shehee, 199 F.3d at 300.

         The Plaintiff was moved to a top bunk on two separate occasions. On May 3, 2020 the

 Plaintiff was moved to Dorm 2 AL-14U1. That move was approved by Patrick Kessinger. (Exhibit

 A). On May 7, 2020 the Plaintiff was moved to Dorm 6 BU-11U. That move was approved by

 Defendants Butts. (DN 105-2, PageID#: 933). The Plaintiff has failed to present any evidence

 that Defendant Mazza was involved in either of the Plaintiff’s moves to a top bunk. “[T]he burden

 on the moving party may be discharged by ‘showing’—that is, pointing out to the district court—

 that there is an absence of evidence to support the nonmoving party's case.” Celotex, 477 U.S. at

 325.

         2.    There is no proof Plaintiff suffered a physical injury.

         The Prison Litigation Reform Act states that “[n]o Federal civil action may be brought by

 a prisoner confined in a jail, prison, or other correctional facility, for mental or emotional injury

 suffered while in custody without a prior showing of physical injury.” 42 U.S.C. § 1997e(e). This


 1
  2 is the Dorm number; AL (A Lower) is the specific wing within Dorm 2; 14 is the cell number; and the letter U
 means Upper Bunk.
                                                  Page 4 of 18
Case 4:20-cv-00190-CRS-HBB            Document 106-1         Filed 03/31/23      Page 5 of 18 PageID
                                            #: 940



 statute applies to Eighth Amendment claims such as Plaintiff’s. The Sixth Circuit has indicated

 that even though the physical injury required for a § 1983 claim need not be significant, it must be

 more than de minimis for an Eighth Amendment claim to go forward.

        The Plaintiff’s Complaint does not state the date he allegedly re-injured his ACL due to his

 placement on a top bunk. Nor has Plaintiff submitted anything other than his own unsupported

 allegation that he re-injured his ACL after May 3, 2020 (the date he was first moved to an upper

 bunk). The Plaintiff attached numerous pages of old medical records to his Complaint regarding

 his knee problems, but none of them are from 2020. The Plaintiff also attached multiple grievances

 that he filed in 2020. However, none of those allege that he re-injured his knee due to his placement

 on a top bunk. The Plaintiff filed a grievance on June 24, 2020. In the “Action Requested” the

 Plaintiff wrote “want bottom bunk & bottom tier before I fall and hurt myself very bad…” (DN

 1-2, PageID#: 99)(emphasis added). That statement would indicate that as of that date – 52 days

 after the Plaintiff was first moved to a top bunk – the Plaintiff had not injured his knee.

        Moreover, even if the Plaintiff did re-injure his knee, he has failed to present any evidence

 regarding the severity of that injury. The Plaintiff must present evidence that he suffered more

 than a de minimis injury to succeed on a deliberate indifference claim.

        3.   Plaintiff failed to exhaust his administrative remedies.

        The Prison Litigation Reform Act, 42 USC § 1997e(a,) was amended to provide that:

                No action shall be brought with respect to prison conditions under
                § 1983 of this Title or any other federal law, by a prisoner confined
                in any jail, prison, or other correctional facility until such
                administrative remedies as are available are exhausted.

        Shortly thereafter, the Sixth Circuit held that the language requires exhaustion of

 administrative remedies before the bringing of new actions. Wright v. Morris, 111 F.3d 414 (6th

 Cir. 1997). Likewise, the Supreme Court of the United States has examined the statute and held

                                             Page 5 of 18
Case 4:20-cv-00190-CRS-HBB           Document 106-1         Filed 03/31/23      Page 6 of 18 PageID
                                           #: 941



 that it means precisely what it says. Booth v. Churner, 532 U.S. 731, 741 (2001) ("Thus, we think

 that Congress has mandated exhaustion clearly enough, regardless of the relief offered through the

 administrative procedures."); Porter v. Nussel, 534 U.S. 516, 532, 122 S.Ct. 983, 992 (2002)

 ("[W]e hold that the PLRA's exhaustion requirement applies to all inmate suits about prison life

 whether they involve general circumstances of particular episodes and whether they allege

 excessive force or some other wrong.")

        At all times during Plaintiff’s incarceration, GRCC had in effect an inmate grievance

 procedure available to him and other prisoners. According to the policy, an inmate may file a

 grievance concerning “any aspect of an inmate’s life in prison that is not specifically identified as

 a non-grievable issue.” (Exhibit C-CPP 14.6(II)(B)).

        According to GRCC’s grievance procedures, all grievances are to be made in the form of

 a written statement, printed/written legibly, and filed within five days of a specific incident. CPP

 14.6(II)(J). Further, GRCC’s policy requires: “The grievant shall include all aspects of the issue

 and identify all individuals in the ‘Brief Statement of the Problem’ section of the written

 grievance so that all problems concerning the issue or individuals may be dealt with . . . .”

 (Id.)(emphasis added).

        The Plaintiff filed multiple grievances requesting that he be moved to a bottom floor and

 bottom bunk. (DN 1-2, PageID#: 23; DN 1-2, PageID#: 114; DN 1-2, PageID#: 42; DN 1-2,

 PageID#: 99; DN 1-2, PageID#: 83). Only two of those grievances were appealed through all

 levels of the grievance process and considered fully exhausted. Those two grievances can be found

 at DN 1-2, PageID#: 23 and DN 1-2, PageID#: 83. Neither of those grievances identify Defendant

 Mazza or Defendant Butts in the “Brief Statement of the Problem.” As such, Plaintiff failed to

 exhaust his administrative remedies and his claim alleging deliberate indifference by placing him

 on a top bunk must be dismissed.
                                             Page 6 of 18
Case 4:20-cv-00190-CRS-HBB            Document 106-1          Filed 03/31/23      Page 7 of 18 PageID
                                            #: 942



         4.   Deliberate Indifference Standard.

         In order for a prisoner to prevail on an Eighth Amendment claim, he must show that he

 faced a sufficiently serious risk to his health or safety and that the defendant acted with “‘deliberate

 indifference’ to [his] health or safety.” Mingus v. Butler, 591 F.3d 474, 479–80 (6th Cir. 2010).

 The deliberate-indifference standard includes both objective and subjective components. Farmer,

 511 U.S. at 834; Helling, 509 U.S. at 35–37. To satisfy the objective prong, an inmate must show

 “that he is incarcerated under conditions posing a substantial risk of serious harm.” Farmer, 511

 U.S. at 834. Under the subjective prong, an official must “know[ ] of and disregard[ ] an excessive

 risk to inmate health or safety.” Id. at 837. “[P]rison officials who actually knew of a substantial

 risk to inmate health or safety may be found free from liability if they responded reasonably to the

 risk, even if the harm ultimately was not averted.” Id. at 844.

         The Plaintiff is unable to prove the subjective component of his claim. Under the subjective

 component the defendant must have actual knowledge of an excessive risk to the inmate’s health

 or safety. The Plaintiff has failed to present evidence that Defendant Mazza or Defendant Butts

 were aware of his various medical issues. The Plaintiff alleges in his Complaint that “The

 Defendants even state that they looked at Plaintiff Gary Keims medical records. So they knew

 about his serious medical needs for his A.C.L and his serious medical needs for his C.O.P.D.”

 (DN 1, PageID#: 4). The Plaintiff cites to Warden Mazza’s response to Plaintiff’s grievance 20-

 05-45 as proof that Warden Mazza admitted personally reviewing the Plaintiff’s medical records.

 (DN 1, PageID#: 8). However in that document Defendant Mazza does not say he personally

 reviewed the Plaintiff’s medical records. The response says “…a review of your situation by

 Medical revealed that you do not have a bottom bunk/bottom floor restriction.” (DN 1-2,

 PageID#: 25)(emphasis added). Without proof that the Defendants personally reviewed his


                                              Page 7 of 18
Case 4:20-cv-00190-CRS-HBB             Document 106-1        Filed 03/31/23       Page 8 of 18 PageID
                                             #: 943



 medical records, the Plaintiff cannot meet his burden of proving that the Defendants were aware

 of a risk to his health and chose to ignore that risk.

         In addition, “(h)ousing restrictions, such as whether any inmate needs to be assigned to a

 bottom floor or bottom bunk, are strictly medical decisions made by the contracted medical

 provider (Wellpath). If an inmate feels they need a housing restriction it is their responsibility to

 request a medical evaluation.” (Exhibit D – Affidavit of Kevin Mazza; Exhibit E – Affidavit of

 Bobbi Jo Butts)(See also DN 1-2, PageID#: 21; DN 1-2, PageID#: 89; and DN 1-2, PageID#: 117)

 Nonmedical prison personnel are entitled to reasonably rely on the assessments made by the

 medical staff. Winkler v. Madison Cnty., 893 F.3d 877, 895 (6th Cir. 2018). See also McGaw v.

 Sevier County, 715 F. App'x 495, 498–99 (6th Cir. 2017) (“Where, as here, an officer responds to

 a substantial risk of serious harm by asking for and following the advice of a professional [that]

 the officer believes to be capable of assessing and addressing that risk, then the officer commits

 no act of deliberate indifference in adhering to that advice.”); and Spears v. Ruth, 589 F.3d 249,

 255 (6th Cir. 2009). In May 2020 the medical staff at GRCC had not ordered that Inmate Keim

 be assigned to a bottom bunk. (Exhibit D – Affidavit of Kevin Mazza; Exhibit E – Affidavit of

 Bobbi Jo Butts; DN 1-2, PageID#: 21 and 25; DN 1-2, PageID#: 89; and DN 1-2, PageID#: 117).

 The Defendants were entitled to rely on the decision by medical staff that the Plaintiff did not need

 to be housed on a bottom bunk.

         5.   Defendants are entitled to qualified immunity

         Even if it is assumed arguendo that the Plaintiff could raise a genuine issue as to the

 occurrence of a constitutional violation, the Defendants would be entitled to qualified immunity

 on the basis that it would not have been sufficiently clear to a reasonable official in the Defendants’

 position that their actions violated the Plaintiff’s constitutional rights under the        particular

 circumstances presented. Anderson v. Creighton, 483 U.S. 635, 640 (1987); Saucier v. Katz, 533
                                         Page 8 of 18
Case 4:20-cv-00190-CRS-HBB             Document 106-1        Filed 03/31/23       Page 9 of 18 PageID
                                             #: 944



 U.S. 194, 201 (2001). A defendant is entitled to qualified immunity if, under the circumstances

 presented, a state official in the defendants’ position could reasonably believe that his actions do

 not violate clearly established rights of the plaintiff.

         When the defense of qualified immunity is raised, it is the plaintiff who bears the burden

 of establishing that his rights were violated and that the defendants are not entitled to qualified

 immunity. Ciminillo v. Stretcher, 434 F.3d 461, 466 (6th Cir. 2005); Wegener v. Covington, 933

 F.2d 390, 392 (6th Cir. 1991); Alexander v. Federal Bureau of Prisons, 227 F.Supp.2d 657, 665

 (E.D.Ky. 2002). The burden thus falls to the plaintiff to establish that a reasonable state official in

 the defendant’s position would have clearly understood that they were under an affirmative duty

 to refrain from their conduct under the circumstances presented. Rich v. City of Mayfield Heights,

 955 F.2d 1092, 1095 (6th Cir.1992)(citing Wegener, 933 F.2d at 393). Furthermore, a defendant’s

 qualified immunity is a question of law to be decided by the Court. Thacker v. City of Columbus,

 328 F.3d 244, 259 (6th Cir. 2003); McCloud v. Testa, 97 F.3d 1536, 1541 (6th Cir.1996).

         In the case at bar the Defendants were relying on the Plaintiff to request a medical

 evaluation and medical staff to evaluate the Plaintiff and determine whether he needed any specific

 housing arrangements. The Plaintiff has not come forward with any evidence that prison officials

 would know such an arrangement violates the constitution.

     B. Denial of Wheelchair

         The Plaintiff alleges the Defendants were deliberately indifferent to his medical needs in

 June 2020 when he “sent a letter to Defendants stating he could not and would not go to the chow

 hall or medical anymore without a wheelchair.” (DN 1, PageID#: 12). The Plaintiff goes on to

 allege that he was not given a wheelchair for four (4) days after his request, causing him to miss

 twelve (12) meals. (Id.)


                                              Page 9 of 18
Case 4:20-cv-00190-CRS-HBB            Document 106-1         Filed 03/31/23     Page 10 of 18 PageID
                                             #: 945



        1. Plaintiff did not suffer a physical injury.

         The deprivation of a few meals for a limited time generally does not rise to the level of an

  Eighth Amendment violation. See Cunningham v. Jones, 667 F.2d 565, 566 (6th Cir. 1982) (per

  curiam) (providing a prisoner only one meal per day for fifteen days did not violate the Eighth

  Amendment, because the meals provided contained sufficient nutrition to sustain normal health);

  Davis v. Miron, 502 F. App'x 569, 570 (6th Cir. 2012) (denial of seven meals over six days is not

  an Eighth Amendment violation); Richmond v. Settles, 450 F. App'x 448, 456 (6th Cir. 2011)

  (same); see also Berry v. Brady, 192 F.3d 504, 507-08 (5th Cir. 1999) (denial of a few meals over

  several months does not state a claim); Staten v. Terhune, No. 01-17355, 2003 WL 21436162, at

  *1 (9th Cir. June 16, 2003) (deprivation of two meals is not sufficiently serious to form the basis

  of an Eighth Amendment claim); Cagle v. Perry, No. 9:04-CV-1151, 2007 WL 3124806, at *14

  (N.D.N.Y. Oct. 24, 2007) (deprivation of two meals is “not sufficiently numerous, prolonged or

  severe” to give rise to an Eighth Amendment claim).

         In Richmond, the Sixth Circuit determined that a prisoner who was deprived of five meals

  over three consecutive days, and a total of seven meals over six consecutive days, did not state a

  viable Eighth Amendment claim, because he “does not allege that his health suffered as a result of

  not receiving the meals.” Richmond, 450 F. App'x at 456. Similarly, Plaintiff does not allege that

  his health suffered as a result of the deprivation of meals. Consequently, Plaintiff does not state a

  plausible Eighth Amendment claim based on missing meals for four (4) days.

         2. Plaintiff failed to exhaust his administrative remedies.

         The Plaintiff filed one (1) grievance on June 26, 2020 - Grievance 20-06-131 - requesting

  a wheelchair to go to the chow hall. (DN 1-2, PageID#: 119-123). That grievance does not identify

  Defendant Mazza or Defendant Butts in the “Brief Statement of the Problem.” As such, Plaintiff


                                             Page 10 of 18
Case 4:20-cv-00190-CRS-HBB           Document 106-1         Filed 03/31/23     Page 11 of 18 PageID
                                            #: 946



  failed to exhaust his administrative remedies and his claim alleging deliberate indifference by

  denying him a wheelchair must be dismissed.

         In addition, Grievance 20-06-131 was not fully exhausted. In order to fully exhaust a

  grievance, the inmate must prepare and file a grievance, and the grievance proceeds first to an

  “informal resolution stage.” (Exhibit C, pg. 9-10). To continue the process, the inmate must

  request review by the Grievance Committee. (Id., pg. 11-13) To appeal the grievance committee

  decision and fully exhaust the exhaustion process, the Plaintiff must appeal his grievance to the

  Warden and, finally, the Commissioner of the Department of Corrections. (Id. pg. 13-14).

  Plaintiff’s Grievance 20-06-131 went to the “informal resolution stage” where the response

  provided to the Plaintiff stated “You were seen yesterday 6/30/2020. Wheelchair was given.

  Follow-up appointment was made. Upon leaving you stated all of your needs were addressed…”

  (DN 1-2, PageID#: 121). The Plaintiff then signed the grievance stating he was satisfied with the

  informal resolution and did not pursue any further appeals. (Id.) Therefore, the Plaintiff did not

  fully exhaust Grievance 20-06-131.

         3. Deliberate Indifference Standard

         Under the subjective prong of the deliberate indifference standard, an official must know

  of and disregard an excessive risk to inmate health or safety.” Farmer. at 837. Once again the

  Plaintiff is unable to prove the subjective component of his claim. The Plaintiff has failed to

  present evidence that Defendant Mazza or Defendant Butts were aware of his request for a

  wheelchair to travel to the chow hall. The Plaintiff cites to his Exhibits F (DN 1-2, PageID#: 119-

  123) and M (DN 1-2, PageId#: 77-80) as proof the Defendants were aware of his need for a

  wheelchair. (DN 1, PageID#: 12). Exhibit F is Grievance 20-06-131 which was discussed above.

  The Plaintiff never appealed that grievance to the Warden. Therefore, Defendant Mazza would


                                            Page 11 of 18
Case 4:20-cv-00190-CRS-HBB             Document 106-1         Filed 03/31/23      Page 12 of 18 PageID
                                              #: 947



  not have been aware of the Plaintiff’s request. (See also Exhibit D, ¶11, Affidavit from Defendant

  Mazza stating “Inmate Keim never informed me that he needed a wheelchair.”).

           Exhibit M is Healthcare Request forms the Plaintiff filled out requesting to be seen by

  medical staff. Those documents were only provided to medical staff. There is no evidence

  Defendants Mazza or Butts were sent those documents or ever personally reviewed those

  documents. Without proof that the Defendants personally reviewed documents requesting a

  wheelchair, the Plaintiff cannot meet his burden of proving that the Defendants were aware of a

  risk to his health and chose to ignore that risk.

         In addition, “Wheelchair access is determined solely by the contracted medical provider

  (Wellpath), based on medical need.” Neither Defendant Mazza, Defendant Butts, or any other

  GRCC employee could have provided Plaintiff a wheelchair. (Exhibit D, ¶ 12). Nonmedical

  prison personnel are entitled to reasonably rely on the assessments made by the medical staff.

  Winkler v. Madison Cnty., 893 F.3d 877, 895 (6th Cir. 2018); McGaw v. Sevier County, 715 F.

  App'x 495, 498–99 (6th Cir. 2017); Spears v. Ruth, 589 F.3d 249, 255 (6th Cir. 2009). Medical

  staff did not determine that a wheelchair was medically necessary for the Plaintiff until his medical

  evaluation on June 30, 2020. A wheelchair was provided to him at that time. (DN 1-2, PageID#:

  121; DN 1, PageID#: 12). The Defendants were entitled to rely on the decision by medical staff

  that the Plaintiff did not need a wheelchair prior to June 30, 2020.

  Retaliation

         The Plaintiff alleges that in retaliation for filing grievances and asking his family to contact

  the media regarding GRCC’s response to a Covid-19 outbreak, the Defendants retaliated against

  him by moving him to Dorm 6, placing him on a top tier and a top bunk, and trying to house him

  with another inmate who had recently tested positive for Covid-19.


                                              Page 12 of 18
Case 4:20-cv-00190-CRS-HBB            Document 106-1         Filed 03/31/23     Page 13 of 18 PageID
                                             #: 948



       1.      Plaintiff failed to exhaust his administrative remedies.

            The Plaintiff only filed one (1) grievance regarding his new housing assignment. That

  grievance, 20-05-45, did not address the Plaintiff’s move to Dorm 6. It only addressed his move

  to a top bunk within Dorm 2 where he was already living. (DN 1-2, PageID#: 23) Moreover, as

  discussed previously, that grievance does not identify Defendant Mazza or Defendant Butts in the

  “Brief Statement of the Problem.” (Id.) As such, Plaintiff failed to exhaust his administrative

  remedies and his claim alleging retaliation must be dismissed.

            Furthermore, Grievance 20-05-45 was filed under the grievance procedure set out in CPP

  14.6. Bed assignments and housing assignments are considered classification decisions. (CPP

  18.1(II)(K)(1)2 and Exhibit B, ¶ 4 – Affidavit of Kieryn Fannin). Classification decisions are non-

  grievable under the general grievance procedure set out in CPP 14.6.             (Exhibit C - CPP

  14.6(II)(C)(5) and Exhibit B, ¶ 4). An inmate who wishes to appeal their bed or housing

  assignment must pursue their administrative remedy pursuant to the procedure set out in CPP 18.1.

  (CPP 18.1(II)(M)). Under that policy an inmate may appeal any classification action, including

  bed or housing assignments, to the Warden or his designee within five (5) working days of the

  action. If the inmate is not satisfied with the Warden’s response, the inmate may request in writing

  to the Director of Population Management or designee that his case be reviewed under CPP

  18.1(II)(M)(2). The inmate must make this request within five (5) working days of receiving the

  Warden’s response.      (CPP 18.1 (II)(M) and Exhibit B, ¶ 5).        The Plaintiff did not file a

  classification appeal regarding his May 7,2020 assignment to Dorm 6. (Exhibit B, ¶ 7). Therefore,

  the Plaintiff failed to properly exhaust his administrative remedies regarding all of his retaliation

  claims.


  2
   https://corrections.ky.gov/About/cpp/Documents/18/CPP%2018.1%20-
  %20Classification%20of%20the%20Inmate%20-%20Clean%20-%XXX-XX-XXXX.pdf
                                             Page 13 of 18
Case 4:20-cv-00190-CRS-HBB             Document 106-1         Filed 03/31/23      Page 14 of 18 PageID
                                              #: 949



            2.    Elements of a Retaliation Claim

            The elements of a First Amendment retaliation claim are: (1) Plaintiff was engaged in

  constitutionally protected conduct, (2) Plaintiff suffered adverse action which would deter a person

  of “ordinary firmness” from continuing to engage in such protected conduct, and (3) there exists a

  causal connection between the protected conduct and the adverse action—in other words, the

  adverse action was motivated at least in part by Plaintiff's protected conduct. See Thomas v. Eby,

  481 F.3d 434, 440 (6th Cir. 2007) (quoting Thaddeus-X v. Blatter, 175 F.3d 378, 394 (6th Cir.

  1999)).

                 a. Plaintiff did not suffer an adverse action.

            Not every adverse action against one who has engaged in protected conduct is

  constitutionally cognizable. Ingraham v. Wright, 430 U.S. 651, 674 (1977); Thaddeus-X, 175 F.3d

  at 396. “There is, of course a de minimis level of imposition with which the Constitution is not

  concerned.” Ingraham, 430 U.S. at 674. The adverse action necessary to state a constitutional

  violation must be such that it would “‘deter a person of ordinary firmness’ from the exercise of the

  right at stake.” Thaddeus-X, 175 F.3d at 396 (quoting Bart v. Telford, 677 F.2d 622, 625 (7th Cir.

  1982)). This standard is an objective inquiry which is flexible enough to accommodate the various

  circumstances in which retaliation claims arise and which is capable of screening the most trivial

  of actions. Thaddeus-X, 175 F.3d at 398.

            The Sixth Circuit has repeatedly held that a prison transfer is generally not a sufficiently

  adverse action to deter a person of ordinary firmness from engaging in protected conduct. Jewell

  v. Leroux, 20 Fed.Appx. 375, 378 (6th Cir. 2001) (“A transfer to the general population of another

  prison is not considered sufficiently adverse....”); Geiger v. Prison Realty Trust, Inc., 13 Fed.Appx.

  313, 315 (6th Cir. 2001) (holding that the plaintiff's transfer to another prison was not retaliatory

  since the transfer did not prevent or deter him from continuing to write grievances and file
                                          Page 14 of 18
Case 4:20-cv-00190-CRS-HBB           Document 106-1          Filed 03/31/23      Page 15 of 18 PageID
                                            #: 950



  lawsuits.); Friedman v. Corr. Corp. of Am., 11 Fed.Appx. 467, 470 (6th Cir. 2001) (noting that

  “[t]his Court has repeatedly held that transfer from one prison to another prison cannot rise to the

  level of an adverse action because it would not deter a person of ordinary firmness from the

  exercise of his First Amendment rights,” and finding that the plaintiff's transfer to another

  institution that was farther away from those who visited him and did not offer the programs in

  which he previously participated was not an “adverse action” for purposes of a retaliation claim);

  Goddard v. Ky. Dep't of Corr., No. 99-5348, 99-5971, 2000 WL 191758, at *3 (6th Cir. Feb. 7,

  2000) (“The transfer to the general population of another prison is not considered sufficiently

  adverse to deter a person of ordinary firmness from exercising his First Amendment rights.”).

         In this case the Plaintiff was not even transferred to the general population of another

  prison, he was merely moved to a different housing unit within the same prison. Such a trivial

  transfer is not a sufficiently adverse action to deter a person of ordinary firmness from engaging

  in protected conduct.

             b. Plaintiff failed to establish the required causal connection.

         The Plaintiff has failed to establish the third element required for a retaliation claim – that

  there was a causal connection between the alleged protected conduct and the adverse action. With

  respect to causation, courts recognize that while retaliation is “easy to allege” it “can seldom be

  demonstrated by direct evidence.” Huff v. Rutter, 2006 WL 2039983 (W.D.Mich., July 19,

  2006)(quoting Murphy v. Lane, 833 F.2d 106, 108 (7th Cir. 1987)). To state a constitutional claim,

  Plaintiff must establish “that his protected conduct was a motivating factor” behind the allegedly

  retaliatory action taken. Thaddeus-X, 175 F.3d at 399 (citations omitted); see also Skinner v.

  Bolden, 89 Fed. Appx. 579, 579-80 (6th Cir., Mar. 12, 2004) (“conclusory allegations of temporal

  proximity are not sufficient to show a retaliatory motive”).


                                             Page 15 of 18
Case 4:20-cv-00190-CRS-HBB           Document 106-1          Filed 03/31/23     Page 16 of 18 PageID
                                            #: 951



         The Plaintiffs in Thaddeus-X were successful at the summary judgment stage because they

  “put forward a number of specific, nonconclusory allegations and identified affirmative evidence

  that could support a jury verdict at trial.” Thaddeus-X at 399-400. The Plaintiff in the case at bar

  has presented this Court with nothing except his own allegations to prove that his transfer to a

  different cell was in retaliation for filing grievances and complaining to the media about GRCC’s

  Covid response. The Plaintiff has failed to even present evidence that he filed a grievance

  regarding the prison’s Covid response prior to his transfer to Dorm 6. Nor has the Plaintiff

  presented evidence showing how and when the Defendants were made aware of his attempts to

  contact the media.

         The Defendants have submitted proof, in the form of notarized affidavits, that at the time

  Inmate Keim was relocated to Dorm 6, the Defendants were not aware that he had filed any

  grievances about the prison’s covid response or that he had told his aunt to contact the media about

  the prison’s response. (Exhibit D, ¶ 7; Exhibit E, ¶ 9).

         The Defendants have also submitted proof that the Plaintiff’s relocation was not done for

  retaliatory purposes. As explained in Defendant Mazza’s affidavit:

         4.      On April 5, 2020 Green River Correctional Complex had its first inmate test
         positive for Covid-19. That resulted in every inmate at the prison being tested for
         Covid-19. After consulting with the Kentucky Department for Public Health,
         Daviess County Health Department, Owensboro Health, Wellpath (DOC’s
         contracted medical provider), and Department of Corrections leadership, all
         inmates in general population were then assigned to new housing units based on
         their exposure status. Inmates who tested positive were placed in one dorm/housing
         unit. Inmates who tested negative but had direct exposure with someone who tested
         positive were placed in a separate dorm/housing unit. Inmates who tested negative
         and had indirect exposure with someone who tested positive were placed in a third
         dorm/housing unit. Inmates who tested negative but were considered medically
         vulnerable were placed in a fourth dorm/housing unit.
         5.      At the beginning of the Covid-19 outbreak Inmate Keim was assigned to
         Dorm 2 at GRCC. On May 7, 2020 he was relocated to Dorm 6.
         6.      Inmate Keim’s relocation to Dorm 6 on May 7, 2020 was solely due to his
         Covid-19 test results and exposure status.

                                             Page 16 of 18
Case 4:20-cv-00190-CRS-HBB             Document 106-1         Filed 03/31/23       Page 17 of 18 PageID
                                              #: 952



         7.     … Inmate Keim was not singled out when he was relocated to Dorm 6. He
         was relocated to the same housing unit as all other inmates with the same Covid-19
         exposure status.

  (Exhibit D; see also Exhibit E)

         Even if the Court finds that the Plaintiff has met his burden of establishing that his

  protected conduct was a motivating factor behind any harm, “i[f] the defendant can show

  that he would have taken the same action in the absence of the protected activity, he is

  entitled to prevail on summary judgment.” Thaddeus-X at 399. As discussed supra, the

  Plaintiff’s relocation to Dorm 6 was due to the Covid-19 outbreak and the need, based on

  recommendations from multiple public health agencies, to reassign inmates to new housing

  units based on their exposure status. See Siggers-El v. Barlow, 412 F.3d 693, 701-02 (6th

  Cir. 2005) (noting that a transfer is not retaliatory if it is necessary for operational needs).

  Therefore, the Defendants have shown that they would have taken the same action towards

  Plaintiff in the absence of his protected activity.

                                        CONCLUSION

         The Plaintiff cannot present this Court with evidence to prove each of the elements

  of his claims. The Plaintiff cannot prove that he properly and fully exhausted any of the

  claims raised in his Complaint. He has failed to show that he suffered a physical injury

  due to his placement on a top bunk or the denial of a wheelchair for four (4) days. The

  Plaintiff has failed to show that the Defendants were aware of h is medical needs or that

  they were deliberately indifferent to those needs. As for his First Amendment retaliation

  claims, (1) The Plaintiff did not suffer an adverse action since he was merely transferred

  to a different general population housing unit within the same prison; (2) The Defendants

  actions could not have been motivated by the Plaintiff’s protected conduct because the


                                              Page 17 of 18
Case 4:20-cv-00190-CRS-HBB              Document 106-1       Filed 03/31/23    Page 18 of 18 PageID
                                               #: 953



  Defendants were not aware of any of the Plaintiff’s protected conduct; and (3) The

  Defendants actions were done for a legitimate purpose.

         For the reasons stated above the Defendants respectfully requests that summary

  judgment be granted in their favor.



                                                Respectfully submitted,

                                               /s/ ALLISON R. BROWN__________
                                               ALLISON BROWN (KBA # 91510)
                                               DEPARTMENT OF CORRECTIONS
                                               Office of Legal Services
                                               P.O. Box 2400
                                               Frankfort, Kentucky 40602-2400
                                               Phone: (502) 564-4726 Ext. 22336
                                               E-Mail: allison.brown@ky.gov
                                               Counsel for Defendants Kevin Mazza and Bobbi Jo
                                               Butts


                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 31, 2023, I electronically filed this document with the Court
  by using the CM/ECF system. I further certify that I mailed this document first class, postage
  prepaid to the following non-CM/ECF participants:

   Gary Keim, #229228
   Little Sandy Correctional Complex
   505 Prison Connector
   Sandy Hook, Kentucky 41171


                                               /s/ Allison R. Brown
                                               Counsel for Defendants Kevin Mazza and Bobbi Jo
                                               Butts




                                             Page 18 of 18
